      Case 2:12-cr-00016-WFN     ECF No. 287    filed 01/08/13   PageID.852 Page 1 of 2




 1
 2
 3
 4
 5                            UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF WASHINGTON
 7   UNITED STATES OF AMERICA,                    )
                                                  )    NO.       CR-12-0016-WFN-7
 8                             Plaintiff,         )
                                                  )
 9           -vs-                                 )    ORDER
                                                  )
10   TYLER SCOTT MCKINLEY,                        )
                                                  )
11                             Defendant.         )
                                                  )
12
13         A motion hearing was held January 7, 2013. The Defendant, who is not in custody,
14 was present and represented by Richard Wall; Assistant United States Attorney Russell
15 Smoot represented the Government. United States Probation Officer Erik Carlson was also
16 present. The Court addressed Defendant's Motion to Amend Release Conditions which was
17 an appeal from Magistrate Imbrogno's Order filed December 12, 2012 (ECF No. 276).
18         Defendant has remained in complete compliance with all conditions of pretrial release.
19 He completed a substance abuse evaluation and was found to not require treatment.
20 Defendant does not appear to be a risk to the public. He has no past convictions. His case
21 is currently on appeal following this Court's order granting Defendant's Motion to Suppress.
22 The Court modified some of Defendant's conditions, but agrees with the Government that it
23 would likely be a Federal crime to possess a firearm while under Indictment. See 18 §
24 922(n).
25         The Court has reviewed the file and Motion and is fully informed. This Order is
26 entered to memorialize and supplement the oral rulings of the Court. Accordingly,


     ORDER - 1
      Case 2:12-cr-00016-WFN       ECF No. 287    filed 01/08/13   PageID.853 Page 2 of 2




 1          IT IS ORDERED that:
 2          1. Defendants' Motion to Amend Release Conditions, filed December 20, 2012, ECF
 3 No. 282, is GRANTED IN PART and DENIED IN PART.
 4          2. All currently imposed conditions of pretrial release shall remain in effect except
 5 as modified below:
 6              (a) Defendant is no longer prohibited from consuming alcohol and may consume
 7 alcohol in a reasonable manner.
 8              (b) Defendant is still required to submit to random urinary analysis, but if a
 9 scheduled test conflicts with work obligations he may arrange an alternate time to provide
10 a sample with his supervising Probation Officer. He must contact his Probation Officer early
11 in the day to be excused from testing on any given day.
12              (c) The United States Probation Officer has discretion to authorize out of district
13 travel, but Defendant must seek approval prior to leaving the district and must provide his
14 United States Probation Officer with the details of his proposed trip. The United States
15 Probation Officer reserves the right to refuse out of district travel if it is inadvisable.
16          The District Court Executive is directed to file this Order and provide copies to
17 counsel AND TO United States Probation Officer Erik Carlson.
18          DATED this 8th day of January, 2013.
19
20                                                    s/ Wm. Fremming Nielsen
                                                         WM. FREMMING NIELSEN
21   01-07-13                                     SENIOR UNITED STATES DISTRICT JUDGE
22
23
24
25
26


     ORDER - 2
